       Case 1:22-cv-00352-RDA-IDD Document 10 Filed 05/10/22 Page 1 of 1 PageID# 95


                                               IN THE UNITED STATES DISTRICT COURT
                                               FOR THE EASTERN DISTRICT OF VIRGINIA

       APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CML RULE 83.l(D) AND LOCAL
                                               CRIMINAL RULE 57.4
                Jn Case NU1Ilber 1:22-CV-00352-RDA-IDD
                                                    Case Name Ubiquity,Inc.,v. BrianKrebsand Krebson Security,LLC.
                Party Represented by Applicant: BrianKrebsand Krebson Security,LLC.

To: The Honorable Judges of the United States District Court for the Eastern District of Virginia

                                                                PERSONAL STATEMENT

FULL NAME (no initials, please) _M_a_rc_J_o_hn_R_a_n_d_az_z_a
                                                  __________________________                                                                                      _
Bar Identification Number651477             State Massachusetts
Finn Name RandazzaLegalGroup,PLLC
Finn Phone #_7_02_-4_2_0_-2_0_01
                        ______        ~Direct Dial #_7_02_-_42_0_-2_0_01
                                                                _______                                       ~F AX# 702-297-6584
E-Mail Address _e_cf_@_ra_n_da_z_za_.c_o_m
                              _________________________________                                                                                                   _
Office Mailing Address 30 WesternAvenue,Gloucester,MA01930

                                                                               (Exhibit 1 to Declaration)
Name(s) of federal district court(s) in which I have been admitted _S_e_e_A_tta_c_he_d_.
                                                                              _________________                                                                   _

I certify that the rules of the federal court in the district in which I maintain my office extend a similar pro hac vice admission
privilege to members of the bar of the Eastern District of Virginia.

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                                    in tl:ft') eetut nef .bt1:s
                                                              t.befe been tl:ft') t1:etienift tl:ft') eet:lffpefttl:iniftgte ffl) eentlttet ef fitness as   tl:
membeF efthe btl:f. Please see attached regarding prior proceedings.

I hereby certify that, within ninety (90) days before the submission of this application, I have read the Local Rules of this Court
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.

I am   D am not li]a full-time employee of the United States of America, and if so, re


I, the undersigned, do certify that I am a member of the bar of this Court, not related to the applicant; that I know the applicant
personally, that the said applicant possesses all of the qualifications required for admission to the bar ofthis Court; that I have
examined the applicant's personal statement. I affirm that his/her personal and professional character and standing are good, and
petition the court to admit the applicant pro hac vice.

 Plaintiff has indicated that it takes no                                                                                             May9, 2022
 position on the Application.                                (Signature)                                                             (Date)
                                                              DavidS. Wachen                                                          96363
                                                             (TyPed or Printed Name)                                                 (VA Bar Number)
Court Use Only:

Clerk's Fee Paid      D or Exemption        Granted    D
The motion for admission is GRANTED                 D or DENIED D


                               (Judge's Signature)                                                               (Date)
